       Case 5:17-cv-04325-SVK Document 28 Filed 03/15/18 Page 1 of 2



 1
     Roger S. Bonakdar, #253920
 2 2344 TULARE ST., SUITE 301
     FRESNO, CALIFORNIA 93721
 3 PHONE (559) 495-1545
     FAX (559) 495-1527
 4

 5 Attorneys for Defendant BAY AREA AUTO CAR SALES, LLC

 6

 7

 8                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 9
10
     SCOTT JOHNSON,                               Case No. 5:17-cv-04325-SVK
11
                  Plaintiff,                      [Proposed] ORDER GRANTING
12                                                MOTION TO WITHDRAW AS COUNSEL
           v.                                     FOR DEFENDANT BAY AREA CAR
13                                                SALES, LLC
14
   RUIZ BROTHERS, LLC, a California Limited Date: April 3, 2018
15 Liability Company; BAY AREA CAR SALES, Time: 10:00 a.m.
   LLC, a California Limited Liability Company; Judge: Magistrate Judge Van Keulen
16 and Does 1 - 10

17                Defendants.
18
19         This Court having reviewed the Motion to Withdraw as Counsel filed by
20 Bonakdar Law Firm, and good cause appearing therefore,

21         IT IS HEREBY ORDERED that the Motion is GRANTED. Bonakdar Law Firm is
22 hereby permitted to withdraw as counsel of record in the above-captioned action for

23 Bay Area, effective immediately upon issuance of this ORDER.

24         IT IS FURTHER ORDERED that Bonakdar Law Firm shall continue to receive
25 all papers served in this action and forward them to the appropriate representative of

26 Bay Area until substitute counsel is appointed.

27

28

                                              1
                                            ORDER
       Case 5:17-cv-04325-SVK Document 28 Filed 03/15/18 Page 2 of 2

 1         IT IS FURTHER ORDERED that Bay Area shall have until April 30, 2018 to

 2   find substitute counsel or the Answer filed December 29, 2017 will be stricken.

 3   Dated: March 15, 2018

 4

 5                                            _______________________________
                                              Hon. Susan van Keulen
 6                                            Magistrate Judge of the Northern District
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                               2
                                             ORDER
